Case 3:17-cv-02504-MAS-DEA Document 15 Filed 04/16/18 Page 1 of 3 PagelD: 132

NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA,

Plaintiff,
Civil Action No. 17-2504 (MAS) (DEA)
v.
MEMORANDUM ORDER
CAROL SEILER RYAN, INDIVIDUALLY
AND AS EXECUTRIX OF THE ESTATE
OF MARION RUTKOWSKI, et al.,

Defendants.

 

 

This matter comes before the Court upon the United States of America’s (“Plaintiff”)
Motion for Judgment of Foreclosure and Request for Writ of Execution. (ECF No. 14.) The
docket reflects that Mutual No. 9 Condominium Association, Inc. (“Mutual No. 9” or “the
Association”), the only Defendant that entered an appearance in this matter, did not file opposition
to Plaintiff’s motion.

Local Civil Rule 7.1(d)(1) provides that “[nJo application will be heard unless the moving
papers and a brief. . . are filed with the Clerk . .. . The brief shall be a separate document for
submission to the Court[.]” L.Civ.R. 7.1(d)(1) (emphasis added). Local Civil Rule 7.1(d)(4)
provides that “[iJn lieu of filing any brief pursuant to L.Civ.R. 7.1(d)(1), (2) or (3), a party may
file a statement that no brief is necessary and the reasons therefor.” L.Civ.R. 7.1(d)(4). Here,
Plaintiff did not file a moving brief pursuant to Local Civil Rule 7.1(d)(1). Rather, Plaintiff filed
a “Certification of Non-Necessity of Brief” pursuant to Local Civil Rule 7.1(d)(4) that stated,
“[t]he movant certifies that the within Motion involves common questions of law and fact and does

not involve complex or novel issues such as to require the submission of a legal brief.” (PL's Cert.

ECF No. 14 at 3.)
Case 3:17-cv-02504-MAS-DEA Document 15 Filed 04/16/18 Page 2 of 3 PagelD: 133

Here, Plaintiff's Complaint provides that, “[oJn December 18, 2011, ESTATE OF
MARION ELIZABETH RUTKOWSKI C/O CAROL RYAN, EXECUTRIX conveyed the
premises being foreclosed herein to MUTUAL NO. 9 CONDOMINIUM ASSOCIATION, INC.,
which deed was recorded on February 27, 2015 in Book 06665, Page 0829.” (Compl. 4 20(b),
ECF No. 1.) Mutual No, 9’s subsequent “Non-Contesting Answer to Foreclosure Complaint”:

[jJoin[ed] in the demands of the Plaintiff for Judgment and also
demand[ed] that such judgment fix the amount due to the
Association and that the Association be paid the amount so fixed
with interests and costs, that the lands and premises referred to in
the complaint be sold to satisfy the amount due the Association as
well as the amount due the Plaintiff and that the priority amounts, if
any, be paid by the Plaintiff.

(Answer, ECF No. 4.) The proposed form of judgment submitted with Plaintiffs application for
foreclosure judgment provides, in relevant part:

That special Writ of Execution and order of sale issue directing the
U.S. Marshal to levy upon, advertise and sell the real property
described above with appraisement, free of any right, title or interest
of all defendants, except unpaid real property taxes and or special
assessments given priority by law, if any and that the proceeds of
the sale be paid as follows:

(a) First, to the payment of all costs and accruing costs herein;

(b) Next, to the payment of the judgment in favor of the plaintiff,
the United States of America in the amount of $276,151.96 as of
October 2, 2017.

(c) Next, to the payment of interest to the plaintiff at the rate of
5.56% with a per diem rate of $45.85 until the entry of Judgment.
(d) Next, to the payment of interest on the Judgment from the date
it is entered until it is fully satisfied by sale or otherwise at the rate
of interest allowed by law.

(e) Next, the over plus, if any, remaining after the payment of the
foregoing, shall be paid to the Clerk of Court to be disposed of as
the Court shall thereafter direct.

(Proposed Form of J. 2, ECF No. 14-3.) The proposed form of order also provides “[t]hat upon

confirmation of the Marshall’s sale, all Defendants and all persons claiming by, through or under
Case 3:17-cv-02504-MAS-DEA Document 15 Filed 04/16/18 Page 3 of 3 PagelD: 134

them, are barred, foreclosed and enjoined from asserting any right, title or interest in the real
property described above. (/d.) Here, even though Mutual No. 9 filed a “Non-Contesting Answer”
and did not challenge Plaintiff's right to foreclose, the Answer clearly requested the Court fix the
amount due to the Association. Plaintiff's proposed form of judgment, however, does not appear
to fix the amount due to the Association or otherwise include the Association. Absent a legal brief
that sets forth the legal authority for a judgment that extinguishes the rights and interests of a non-
contesting defendant, and in an abundance of caution, the Court finds good cause to deny
Plaintiff's motion without prejudice pending a supplemental submission by the parties. Based on
the foregoing, and for other good cause shown,
IT IS on this 16" day of April 2018, ORDERED that:
1. Plaintiff's Motion for Judgment of Foreclosure and Request for Writ of Execution
is denied without prejudice.
Z By April 30, 2018, Mutual No. 9 must e-file correspondence that sets forth its
position with respect to Plaintiff's proposed form of judgment.! Alternatively, by
April 30, 2018, the parties may e-file a joint proposed revised form of judgment
for the Court’s consideration.
a, If Mutual No. 9 fails to e-file correspondence that sets forth its position and fails to
communicate with Plaintiff with respect to a joint proposed revised form of
judgment, Plaintiff shall file a legal brief in support of its motion by May 11, 2018.
s/ Michael A. Shipp

Michael A. Shipp
United States District J udge

 

' If Mutual No. 9 e-files correspondence indicating that it consents to Plaintiffs proposed form of
judgment, no further action by the parties is required.
